Case 2:16-cr-00006-PLM            ECF No. 254, PageID.980     Filed 04/18/17    Page 1 of 2




                          UNITED STATES OF AMERICA
                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              NORTHERN DIVISION




UNITED STATES OF AMERICA,

                     Plaintiff,                   Case No. 2:16-cr-6

v.                                                HON. PAUL L. MALONEY

Tracy Eve LaMarch,

                Defendant.
____________________________________/


                           REPORT AND RECOMMENDATION

              Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the

captioned case on April 18, 2017, after receiving the written consent of defendant and all

counsel. At the hearing, defendant Tracy Eve LaMarch entered a plea of guilty to Count

7, charging defendant with Possession with Intent to Distribute Marijuana in violation of

21:841(a)(1), 21:841(b)(1)(D), 18:2(a) , in exchange for the undertakings made by the

government in the written plea agreement. On the basis of the record made at the hearing,

I find that defendant is fully capable and competent to enter an informed plea; that the plea

is made knowingly and with full understanding of each of the rights waived by defendant;

that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge

and penalties provided by law; and that the plea has a sufficient basis in fact.
Case 2:16-cr-00006-PLM           ECF No. 254, PageID.981            Filed 04/18/17      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count 7 be accepted,

that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. It is further recommended that the

order setting conditions of defendant's release remain in effect pending sentencing.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement,

determination of defendant's status pending sentencing, and imposition of sentence are

specifically reserved for the district judge.



Date: April 18, 2017                                    /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH. L.CR.R. 11.1(d).
